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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                          EASTERN DIVISION AT COLUMBUS

In re:                                    )      Case No. 23-54084
                                          )
TDC GROUP INC,                            )      Chapter 11
                                          )
               Debtor-in-Possession.      )      Judge Nami Khorrami
                                          )

   UNITED STATES TRUSTEE’S MOTION TO DISMISS CASE PURSUANT
  TO 11 U.S.C. § 1112(b) AND LOCAL BANKRUPTCY RULES 1074-1(a) AND
               9011-2(b); AND MEMORANDUM IN SUPPORT

         The United States Trustee (U.S. Trustee) moves the court for an order dismissing
this case pursuant to 11 U.S.C. § 1112 on the grounds that a non-individual Debtor filed
this case pro se and without counsel in violation of Local Bankruptcy Rules 1074-1(a)
and 9011-2(b).


Dated: November 24, 2023           Andrew R. Vara
                                   United States Trustee for Regions 3 & 9

                                   /s/ Pamela Arndt
                                   Pamela Arndt (0068230)
                                   U.S. Department of Justice, Office of the U.S. Trustee
                                   170 North High Street, Suite 200
                                   Columbus, OH 43215
                                   Telephone: (614) 469-7415
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                                   Trial Attorney for the U.S. Trustee
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                                MEMORANDUM IN SUPPORT
                                 Facts and Procedural History
         The U.S. Trustee’s request for dismissal of this Chapter 11 case is made pursuant
to the supervisory duties of the U.S. Trustee as set forth in 28 U.S.C. § 586(a)(3), and
the Court’s authority to dismiss a Chapter 11 case for “cause” under 11 U.S.C. § 1112(b).
         Debtor, TDC Group Inc filed this voluntary Chapter 11 case on November 22,
2023, without an attorney being designated for this non-individual Debtor.
                                         Law and Analysis
         Under 11 U.S.C. § 1112(b), the court shall convert or dismiss a case for cause, 1
including “failure to comply with an order of the court.” 2 Cause exits for dismissing this
case because Debtor filed its case without being represented by counsel. The law is well-
settled that a corporation may appear in federal courts only through licensed counsel
and not through the pro se representation of an officer, agent, or shareholder. 3 The
Sixth Circuit restated the rule that a corporate officer or shareholder may not represent
a corporation: “Because neither a corporate officer nor a shareholder may appear on
behalf of the corporation, the clerk of the court properly denied Keeton the right to
represent her company.” 4
         Local Bankruptcy Rule 1074-1(a) specifically states that: “No corporation or
entity other than an individual shall file a petition nor shall it appear as a debtor in any
case or proceeding unless it is represented by an attorney.” Local Bankruptcy Rule
9011-2(b) also specifically prohibits a corporation from filing a bankruptcy petition
without counsel: “A corporation, partnership or entity other than an individual shall not
appear pro se.”



1   See, e.g., In re Winshall Settlor's Trust, 758 F.2d 1136, 1137 (6th Cir. 1985).
2 11 U.S.C. § 1112(b)(4)(E).


3 See, Rowland v. California Men's Colony, 506 U.S. 194, 201-03 (1993) (noting that this “has
been the law for the better part of two centuries”).
4Taylor Steel, Inc. v. Keeton, 417 F.3d 598, 603 (6th Cir. 2005), citing Doherty v. American
Motors Corp., 728 F.2d 334, 340 (6th Cir. 1984); Canderm Pharmacal, Ltd. v. Elder
Pharmaceuticals, Inc., 862 F.2d 597, 602-03 (6th Cir. 1988).


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        Furthermore, appearances before a federal court are governed by
28 U.S.C. § 1654, which provides: “In all courts of the United States the parties may
plead and conduct their own cases personally or by counsel as, by the rules of such
courts, respectively, are permitted to manage and conduct causes therein.” Although §
1654 permits an individual to proceed pro se in federal court, the status does not permit
an individual to appear on behalf of a corporation. 5 Stated another way, a corporation
may appear in federal court only through a licensed attorney. 6 A non-attorney may not
represent a corporation even if the would-be representative is the president, the sole
shareholder, or both. 7 In this case, the corporate Debtor filed the petition without an
attorney. Accordingly, without counsel, the Debtor is without representation and the
case must be dismissed.
        "The Bankruptcy Rules are designed to require debtors to prosecute their cases
diligently as the price for holding creditors at bay through the automatic stay and for the
other protections provided debtors in the Bankruptcy Code." 8 The failure to abide by
the mandatory requirements of the Code cannot be cured by the mere filing of the
required papers. 9 “A rule permitting late filing to cure failure to meet applicable
deadlines, without regard to other considerations, would reward sloppy practice and
corner cutting to the detriment of timely and diligent observance of applicable
standards.” 10 Debtor has failed to timely file required schedules and statements,
including Schedule G, the List of 20 Largest Creditors, and Matrix Verification

5 Strong Delivery Ministry Assoc. v. Board of Appeals, 543 F.2d 32, 34 (7th Cir. 1976); Scandia

Down Corp. v. Euroquilt, Inc., 772 F.2d 1423, 1427 (7th Cir. 1985) (A corporation “is an
abstraction, and an abstraction may not appear pro se.”).
6 Rowland, 506 U.S. at 113; In re American West Airlines, 40 F.3d 1058 (9th Cir. 1994)

(corporations, as well as other unincorporated associations, must appear in court through an
attorney).
7 Lowery v. Hoffman, 188 F.R.D. 651, 654 (M.D. Ala. 1999); Capital Group, Inc. v. Gaston &

Snow, 768 F. Supp. 264, 265 (E.D. Wisc. 1991) (president and sole shareholder of corporation
could not appear on behalf of corporation, even though corporation could not afford counsel).
8 Id.


9 Id. at 808.


10 Id. at 807.




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(Deficiency Order at Docket No. 5). Because of Debtor’s failures to meet its basic
requirements, the case must be dismissed.
       Debtor’s failure to abide by the mandatory requirements of the Code should not
be tolerated. This case must be dismissed, regardless of whether the Debtor files the
required documents after this motion is filed.
                                     CONCLUSION
       The United States Trustee has demonstrated that sufficient cause exits to dismiss
this case under 11 U.S.C. § 1112(b). Debtor is enjoying the benefits of bankruptcy
protection without complying with the requirements of the Bankruptcy Code, Federal
Rules of Bankruptcy Procedure, or the Local Rules. Accordingly, this case must be
dismissed.
       Based upon the above facts and law, and also based on evidence that may be
presented at the time of the hearing, if any, the United States Trustee respectfully
requests that the Court grant the motion to dismiss this case; and order such other and
further relief as it deems appropriate under the circumstances.

Dated: November 24, 2023           Andrew R. Vara
                                   United States Trustee for Regions 3 and 9

                                   /s/ Pamela Arndt
                                   Pamela Arndt (0068230)
                                   U.S. Department of Justice, U.S. Trustee Program
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                           CERTIFICATE OF SERVICE
       I certify that on or about November 24, 2023, a copy of the foregoing MOTION
OF UNITED STATES TRUSTEE TO DISMISS CASE PURSUANT TO 11 U.S.C. § 1112(b)
AND LOCAL BANKRUPTCY RULES 1074-1(a) and 9011-2(b); AND MEMORANDUM
IN SUPPORT was served (i) electronically on the date of filing through the court’s ECF
System on all ECF participants registered in this case at the email address registered
with the court and (ii) on the following by ordinary U.S. Mail addressed to:

TDC Group Inc
372 Celina Rd
c/o J Morris
Columbus, OH 43228
Pro Se Debtor-in-Possession

NO CREDITOR MATRIX FILED

                                        /s/ Pamela Arndt
                                        Pamela Arndt




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